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           EXHIBIT B
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                                     NORTHERN DISTRICT OF CALIFORNIA
17
                                            SAN FRANCISCO DIVISION
18

19
     DANTE DEMARTINI, et al.,                            Case No. 3:22-cv-08991-JSC
20
     Plaintiﬀs,
21                                                       DECLARATION OF DAVID H. SEIDEL
     v.                                                  IN SUPPORT OF JOINT LETTER BRIEF
22                                                       REGARDING DEPOSITION TIME
     MICROSOFT CORPORATION, a Washington
23   corporation,
24                            Defendant.
25

26

27

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           Case No. 3:22-Cv-08991-JSC
          DECLARATION OF DAVID H. SEIDEL IN SUPPORT OF JOINT LETTER BRIEF REGARDING DEPOSITION TIME
           Case 3:22-cv-08991-JSC Document 287-2 Filed 10/27/23 Page 3 of 3



 1          I, David H. Seidel, declare as follows:

 2          1.      I am an attorney duly licensed to practice in the State of California. I am an attorney at

 3   the Joseph Saveri Law Firm, LLP (“JSLF”), counsel of record for Plaintiffs in this action. I have

 4   personal knowledge of the matters stated herein and, if called upon, I could competently testify thereto.

 5   I make this declaration pursuant to 28 U.S.C. Section 1746 in support of the Joint Letter Brief

 6   Regarding Deposition Time.

 7          2.      I have reviewed the entire FTC deposition transcript of Phil Spencer.

 8          3.      I have reviewed the entire trial testimony of Phil Spencer.

 9          4.      There are numerous topics, relevant to this proceeding, that were never addressed by Mr.

10   Spencer previously. That is in part because of the many factual issues that have arisen since the

11   deposition (for example the new agreements that Microsoft has entered into with its competitors over

12   Call of Duty and other Activision content and other recent factual developments), as well as other

13   relevant topics that Mr. Spencer has never been questioned on.

14          5.      In reviewing the FTC’s deposition of Phil Spencer, in addition to identifying topics that

15   have never been covered, I also identified numerous follow-up questions and important details that

16   were never asked even on topics that were previously covered.

17          6.      I have no intention of unduly repeating or eliciting duplicative testimony as any prior

18   testimony from the FTC action.

19          7.      I have also identified key documents that Mr. Spencer was never questioned on

20   previously that Plaintiffs need to question Mr. Spencer about.

21          8.      I believe that up to seven hours is needed for Mr. Spencer’s deposition to cover non-

22   duplicative relevant material that is necessary to prove Plaintiffs’ claims. However, I intend to be as

23   efficient as possible and will end the deposition early if possible.

24          I declare under penalty of perjury that the foregoing is true and correct. Executed this 27th day

25   of October, 2023 at San Francisco, California.

26
                                                                    /s/ David H. Seidel
27                                                                   David H. Seidel
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     DECLARATION OF DAVID H. SEIDEL IN SUPPORT OF JOINT LETTER BRIEF REGARDING DEPOSITION TIME
